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                    Certificate of Good Standing

State of Oregon               )
                              ) ss.
County of Washington          )

       I, Troy Wood, do hereby certify that I am Regulatory Counsel of the Oregon State Bar, and
have access to the official files and records of the Oregon State Bar.

        The official files and records of the Oregon State Bar indicate:

                                   ELIZABETH POTTER, BAR NO. 105482

was admitted to practice law in the State of Oregon by examination and became an active
member of the Oregon State Bar on October 7, 2010.

     There are no grievances or disciplinary proceedings presently pending against this
member.

      No disciplinary action has been taken against this member in the past by the Oregon
Supreme Court or the Oregon Disciplinary Board.

        Ms. Potter is an active member of the Oregon State Bar in good standing, licensed and
entitled to practice law in all the courts of the State of Oregon.

        DATED this 20th day of January, 2022.


                                                      ____________________________________
                                                      Troy Wood
                                                      Regulatory Counsel
                                                      Oregon State Bar


*This certificate expires 60 days from the date of issuance*



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